                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 3:20-cv-735-RJC

DANIEL DIPIAZZA,                     )
                                     )
            Plaintiff,               )
                                     )
      vs.                            )
                                     )                             ORDER
                                     )
COMMISSIONER OF SOCIAL               )
SECURITY,                            )
                                     )
            Defendant.               )
____________________________________ )

       THIS MATTER comes before the Court on Defendant’s “Consent Motion for Reversal

and Remand Pursuant to Sentence Four of 42 U.S.C. § 405(g).” (Doc. No. 13). Defendant seeks

a judgment reversing its decision and remanding this case for further administrative proceedings.

Plaintiff’s counsel has consented to Defendant’s Motion for Remand.

       IT IS, THEREFORE, ORDERED that Defendant’s motion for reversal and remand is

GRANTED and the Commissioner’s decision is REVERSED with a remand of the case to the

Commissioner for further proceedings.

       IT IS FUTHER ORDERED that Plaintiff’s motion for summary judgment, (Doc. No.

10), is DENIED as moot.

       The Clerk is directed to close this case.




                                             Signed: November 10, 2021




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